       Case 3:08-cr-00118-SMR-SBJ Document 67 Filed 08/03/09 Page 1 of 1
                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA
                                                                             RECEIVED
UNITED STATES OF AMERICA,                   )
                                                                                 AUG 032009
                                            )                               CLERKU.S. alSTRICT COURT
                       Plaintiff,           )                               SOUTHERN alSTRICTOF IOWA
                                            )
                 vs.                        )      Case No. 3:08-cr-00118
                                            )
                                            )
RICHARD LAVERN HOSKINS,                     )
                                            )
                       Defendant.           )



    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


       The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of guilty to Count(il)            of the Indictment. After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in Rule 11, I determined that the

guilty pleats)   was~ knowing and voluntary as to ~unt, and that the offense/e) charged
is/~ supported by an independent factual basis concerning each of the essential elements of such


offensets). I, therefore, recommend that the pleats) of guilty be accepted, that a pre-sentence

investigation and report be prepared, and that the Defendant be adjudged guilty and have sentence

imposed accordingly.




August 3, 2009
Date                                             THOMASJ.
                                                 UNITEDST


                                            NOTICE

       Failure to file written objections to this Report and Recommendation within ten (10) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(1)(B).
